Case 1:14-cv-00035-S|\/|R-HCA Document 45 Filed 03/07/16 Page 1 of 2

IN THE UNITED srArEs DISTRICT CoURT
FoR rle soUTHERN DISTRICT oF IoWA
(WESTERN olvlsloN)

 

A.S., a Minor, by her Father and Mother and
Next Friends, DAN AND JANN
STRUTZENBERG, DAN STRUTZENBERG,
Individually, and JANN STRUTZENBERG,
Individually,

Plaintiff,
v.
TREYNOR COMMUNITY SCHOOL
DISTRICT, TIM NAVARA, and KEVIN
ELWOOD,

Defendants.

 

Case No. l:l4-cV-35

STIPULATl()N OF DISMISSAL WITH
PREJUDICE

 

COME NOW the Plaintiffs and Defendants, by and through their attorneys, and, in

accordance With F ederal Rule of Civil Procedure 41(a), hereby stipulate to a voluntary dismissal

With prejudice of this action. This Dismissal disposes of the case in its entirety.

#2697694

/s/ Becky S. Knutson

 

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Case 1:14-cv-00035-S|\/|R-HCA Document 45 Filed 03/07/16 Page 2 of 2

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PROOF OF SERVICE
The undersigned certifies that the foregoing instrument
was served upon all parties to the above cause to each of
the attorneys of record herein at their respective
addresses disclosed on the pleadings on March 7, 2016
by:

l:| U.S. l\/lail |:| FAX
[:\ Hand Delivered E Ovemight Courier
I:I Federal Express § Other: CM/ECF

Signature: /s/ Becky S. Knutson

 

